 Case 19-03047      Doc 90    Filed 07/21/21 Entered 07/21/21 22:27:43         Desc Main
                                Document     Page 1 of 4



                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

IN RE: V.R. KING CONSTRUCTION, LLC  )
                                    )
DEBTOR                              )                CHAPTER 11 CASE NO.: 18- 31635
                                    )
Y2 YOGA COTSWOLD, LLC               )
            Plaintiff,              )
                                    )                   ADV. PROC. NO.: 19-03047
V.                                  )
VINROY W. REID, V.R. KING           )
CONSTRUCTION, LLC                   )
A. BURTON SHUFORD CHAPTER 7 TRUSTEE )
FOR V.R. KING CONSTRUCTION, LLC     )
AND VINROY REID                     )
                                    )
            Defendants.             )



                                  NOTICE OF APPEAL

        Notice is hereby given that Robert Lewis, Jr., counsel for the VR King Construction,
LLC (hereinafter “Defendant”), pursuant to 28 U.S.C §158 and Rules 8001 and 8002 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), hereby appeals to the United
States District Court for the Western District of North Carolina from the Memorandum Opinion
and Order Granting in Part Plaintiff’s Motion for Summary Judgment; Denying Defendant’s
Motion to Dismiss, Motion for Judgment on the Pleadings and Alternate Motions for Summary
Judgement; deferring Ruling on Certain Issues Pertaining to 11 U.S.C.S §506(b) and Setting
Deadlines for Filing Proof of Claims and any Objection Thereto [Doc. No. 62] entered on
December 2, 2020, and Order Denying Debtor’s Motion Requesting Reconsideration of the
Memorandum Opinion and Order Granting in Part Plaintiff’s Motion for Summary Judgment;
Denying Defendant’s Motion to Dismiss, Motion for Judgment on the Pleadings and Alternate
Motions for Summary Judgement; deferring Ruling on Certain Issues Pertaining to 11 U.S.C.S
§506(b) and Setting Deadlines for Filing Proof of Claims and any Objection Thereto [Doc.
No.76] entered on February 18, 2021, by the Honorable Laura T. Beyer, Chief United States
Bankruptcy Judge for the Western District of North Carolina. The Debtor filed a Motion to
Reconsider pursuant to Bankruptcy Rules 59 and 60. The Court entered an Order Denying
Debtor’s Motion to Reconsider on February 18, 2021.
Appellant filed an Appeal of this Order on March 4, 2021. However, Appellant believes the
Appeal in DOCKET NO. 3:21-cv-00094-MOC was interlocutory. Appellant asserts that on July
7, 2021 Chief Bankruptcy Judge Beyer entered an Order Overruling Objections to Claim in Case
No. 18-31635 and Case No. 18-31436 all outstanding litigation matters have been resolved and
this Order is now a final appealable order.




        Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 1 of 45
 Case 19-03047       Doc 90    Filed 07/21/21 Entered 07/21/21 22:27:43          Desc Main
                                 Document     Page 2 of 4




Pursuant to Bankruptcy Rule 8004 the Debtor hereby request that the Clerk of the Bankruptcy
Court provide notice of appeal to counsel of record for interested parties. The Parties to the
Order appealed from and the names, telephone and fax numbers of their respective attorneys are
as follows:


   Shelley K. Abel
   Bankruptcy Administrator (via ECF)
   402 West Trade Street
   Suite 200
   Charlotte, NC 27601
   Tel: 704-3507590
   Fax: 704-344-6666

   James H. Henderson (via ECF)
   1120 Greenwood Cliff
   Charlotte NC 28202-2826
   Tel: 704-333-3444
   Fax: 704-333-5003

   A. Burton Shuford (via ECF)
   4700 Lebanon Road, Suite A-2
   Mint Hill, NC 28227
   Tel: (980) 321-7005
   Fax: (704) 943-1152

   Vinroy W. Reid (via U.S. Mail)
   P.O. Box 5035
   Charlotte, North Carolina 28229


EXECUTED ON: July 21, 2021

                                           s/Robert Lewis, Jr.
                                           Robert Lewis, Jr.
                                           THE LEWIS LAW FIRM, P.A.
                                           PO Box 1446
                                           Raleigh, North Carolina 27602
                                           (919) 987-2240 (phone)
                                           (919) 573-9161 (Facsimile)
                                           N.C. State Bar # 35806




         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 2 of 45
  Case 19-03047      Doc 90     Filed 07/21/21 Entered 07/21/21 22:27:43          Desc Main
                                  Document     Page 3 of 4




                               CERTIFICATE OF SERVICE

        I hereby certify that the attached NOTICE OF APPEAL was served upon the following
parties by Electronic Court Filing (ECF) and mailing a copy of the same by first-class postage
prepaid mail addressed as follows:

   Shelley K. Abel
   Bankruptcy Administrator (via ECF)
   402 West Trade Street Suite 200
   Charlotte, NC 27601
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   James H. Henderson (via ECF)
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   P.O. Box 5035
   Charlotte, North Carolina 28229


EXECUTED ON: July 21, 2021

                                            s/Robert Lewis, Jr.
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                                            THE LEWIS LAW FIRM, P.A.
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 3 of 45
Case 19-03047   Doc 90   Filed 07/21/21 Entered 07/21/21 22:27:43   Desc Main
                           Document     Page 4 of 4



                                   N.C. State Bar # 35806




     Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 4 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              1 of 32
                                                    Judgment Page 1 of 32

     FILED & JUDGMENT ENTERED
            Steven T. Salata


             December 2 2020


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                      _____________________________
                                                                                Laura T. Beyer
                                                                        United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF NORTH CAROLINA
                                      CHARLOTTE DIVISION

                                                   )
In Re:                                             )
                                                   )
VR KING CONSTRUCTION, LLC,                         )       Chapter 7
                                                   )       Case No. 18-31635
                           Debtor.                 )
                                                   )
                                                   )
                                                   )
Y2 YOGA COTSWOLD, LLC,                             )
                                                   )
                           Plaintiff,              )
                                                   )
v.                                                 )       Adversary Proceeding No. 19-03047
                                                   )
V. R. KING CONSTRUCTION, LLC;                      )
VINROY REID; AND A. BURTON                         )
SHUFORD, AS CHAPTER 7 TRUSTEE                      )
FOR V. R. KING CONSTRUCTION, LLC                   )
AND VINROY REID,                                   )
                                                   )
                           Defendants.             )


 MEMORANDUM OPINION AND ORDER GRANTING IN PART PLAINTIFF’S MOTION
    FOR SUMMARY JUDGMENT; DENYING DEFENDANTS’ MOTIONS TO DISMISS,
 MOTIONS FOR JUDGMENT ON THE PLEADINGS AND ALTERNATE MOTIONS FOR
SUMMARY JUDGMENT; DEFERRING RULING ON CERTAIN ISSUES PERTAINING TO 11
  U.S.C. § 506(B); AND SETTING DEADLINES FOR FILING OF PROOFS OF CLAIM AND
                             ANY OBJECTIONS THERETO

         This matter came before the court on May 6, 2020 and June 19, 2020 on the Motion for

Judgment on the Pleadings, Alternate Motion for Summary Judgment filed by the Plaintiff, Y2 Yoga




          Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 5 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              2 of 32
                                                    Judgment Page 2 of 32



Cotswold, LLC, on April 14, 2020; the Motion to Dismiss Complaint filed by Defendant A. Burton

Shuford, Chapter 7 Trustee for V.R. King Construction, LLC and Vinroy Reid (“Trustee”) on October

24, 2019; the Second Motion to Dismiss Complaint filed by the Trustee on April 16, 2020; the Motion

for Judgment on the Pleadings or in the Alternative Motion for Summary Judgment filed by Defendant

V.R. King Construction, LLC on May 18, 2020; and various responses and briefs filed by the parties.

                                       I.      Procedural History

          1.       Vinroy Reid (the “Individual Debtor”) filed a voluntary petition for relief commencing

case no. 18-31436 under Chapter 13 of the United States Bankruptcy Code on September 21, 2018.1

          2.       V. R. King Construction, LLC (“VR King”), VR Investments, LLC (“VR

Investments”) and Baranko Enterprises, Inc. (“Baranko”) (collectively the “Corporate Debtors”) are

owned by the Individual Debtor. The Corporate Debtors each filed a separate Chapter 11 petition

with this court on October 31, 2018. On December 13, 2018, the court entered orders substantively

consolidating the cases of the Corporate Debtors with the VR King case, case no. 18-31635, as the

remaining case. The Individual Debtor and the Corporate Debtors are collectively referred to herein

as the “Debtors.”

          3.       The Trustee is the Chapter 7 Trustee for the Debtors.

          4.       This adversary proceeding was commenced with the filing of a complaint on August

23, 2019 (the “Complaint”) under Federal Rule of Bankruptcy Procedure 7001(2). This court has

jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334, 28 U.S.C. § 157, and the April 14, 2014

Amended Standing Order of Reference entered by the United States District Court for the Western

District of North Carolina.

          5.       Venue is proper in this district by virtue of 28 U.S.C. § 1409(a), as this proceeding

arises in and relates to a case under the Bankruptcy Code pending in this district.

1
    The court converted case number 18-31436 to Chapter 7 on August 19, 2019.
                                                     2

               Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 6 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              3 of 32
                                                    Judgment Page 3 of 32



        6.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(B), (K), and (O).

        7.       An adversary proceeding was simultaneously filed in the Individual Debtor’s Chapter

7 proceeding and is pending before this court as adversary proceeding no. 19-03049. The parties, the

facts pled, the relief sought in each complaint, and the defenses thereto in each of the two adversary

proceedings are identical.

        Having considered all of the evidence presented, the arguments of counsel, the pleadings, the

verifications of the Complaint, and the briefs of the parties, the court makes the following:

                                       II.     Findings of Fact

A.      The Construction Agreement and the State Court Litigation

        8.       On August 8, 2013, the Plaintiff and VR King entered into the Y2 Yoga Expansion

Construction Agreement (the “Construction Agreement”). A copy of the Construction Agreement is

attached to the Complaint as Exhibit A.

        9.       Paragraph 3(b) of the Construction Agreement provides:
                 Indemnities. The parties hereto agree to indemnify and hold harmless
                 the non-breaching party against any claims, damages or penalties
                 (including court costs and outside legal fees reasonably incurred)
                 arising out of the breaching party’s breach or alleged breach of any
                 agreement, representation and warranty in this agreement.
                 Notwithstanding anything to the contrary contained herein, the
                 foregoing indemnity shall apply to those third party claims arising from
                 General Contractor’s oversight or negligence pertaining to operational,
                 legal, and/or financial matters.

        10.      To assist it in connection with the Debtors’ failure to comply with the Construction

Agreement, the Plaintiff retained the law firm of Horack, Talley, Pharr & Lowndes, P.A. (“Horack

Talley”) in 2014, on an hourly basis. In 2016, after settlement negotiations failed, the Plaintiff filed a

complaint (the “State Court Complaint”) against the Individual Debtor, VR King, VR Investments,

and Spend Management Solutions, LLC with the Mecklenburg County Superior Court. This lawsuit

is hereinafter referred to as the “State Court Litigation.”


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             Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 7 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              4 of 32
                                                    Judgment Page 4 of 32



        11.     The parties have stipulated that the court may take judicial notice of the record in the

State Court Litigation.

        12.     After having paid Horack Talley $52,683.73 for legal fees and costs, the Plaintiff did

not have the financial ability to continue paying Horack Talley, or any other law firm, on an hourly

basis. A summary of charges paid by the Plaintiff to Horack Talley for issues related to the Debtors’

breach of the Construction Agreement is attached to the Complaint as Exhibit B.

        13.     After several months of unsuccessfully searching for an attorney to handle the State

Court Litigation on a contingency basis, the Plaintiff was ultimately able to retain David Guidry

(“Guidry”) as counsel in April of 2017. The Plaintiff and Guidry entered into an Engagement and

Representation Agreement on May 8, 2017 (the “Fee Agreement”).

        14.     The Fee Agreement between Guidry and the Plaintiff included a flat fee of $19,000

plus a contingency fee that would not be incurred by the Plaintiff unless and until the Plaintiff

recovered any funds from the Debtors. Guidry’s contingency fee is set as a percentage of any recovery

obtained and ranges from 35–45% depending on the phase of the case when the recovery amount is

obtained. Based on any recovery after trial, the Plaintiff would owe Guidry a contingency fee of 45%

of any amount ultimately recovered from the Debtors. A copy of the Fee Agreement is attached to

the Complaint as Exhibit C.

B.      The Plaintiff’s compliance with North Carolina attachment statutes

        15.     On June 19, 2017, pursuant to North Carolina General Statute (“N.C.G.S.”) § 1-

440.12, the Clerk of Court of Mecklenburg County entered an Order of Attachment (the “First

Attachment Order”). A copy of the First Attachment Order is attached to the Complaint as Exhibit

D. The First Attachment Order commands the Sheriff of Mecklenburg County to “attach and keep

safely as much of the property of the defendant within your county which is subject to attachment, as




                                                   4

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 8 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              5 of 32
                                                    Judgment Page 5 of 32



is sufficient to satisfy the amount sought in the Affidavit in Attachment Proceeding, the costs of the

action and expenses.”

        16.     On June 28, 2017, pursuant to the First Attachment Order, and in accordance with

N.C.G.S. §§ 1-440.15 and 1-440.17, the Sheriff levied on ten parcels of real property located in

Mecklenburg County (collectively the “First Attached Properties” and individually listed on Exhibit

D to the Complaint). With the exception of the Misenheimer Road property, which is owned by the

Individual Debtor, all of the First Attached Properties are owned by VR King and VR Investments.

        17.     The Sheriff returned the levy to the Clerk and, in accordance with N.C.G.S. §§ 1-

440.17(b) and 1-440.33, the Clerk docketed the Sheriff’s return in the Civil Case Processing System

(“VCAP”) on June 29, 2017 (Exhibit E to the Complaint, showing “ABS CLK DT: 062917”). VCAP

is the electronic filing system used by the Clerk, and it is the appropriate means for the Clerk to docket

and index the documents relevant to the North Carolina attachment statutes.

        18.     N.C.G.S. § 1-440.33(b) provides that an attachment lien on real property attaches

upon docketing and indexing of the levy by the Clerk:

                (b) When the clerk receives from the sheriff a certificate of levy on real
                property as provided by G.S. 1-440.17, the clerk shall promptly note
                the levy on his judgment docket and index the same. When the levy is
                thus docketed and indexed,
                    (1) The lien attaches and relates back to the time of the filing of
                        the notice of lis pendens if the plaintiff has prior to the levy
                        caused notice of the issuance of the order of attachment to be
                        properly entered on the lis pendens docket of the county in
                        which the land lies, as provided by subsection (a) of this
                        section.
                    (2) The lien attaches only from the time of the docketing of the
                        certificate of levy if no entry of the issuance of the order of
                        attachment has been made prior to the levy on the lis pendens
                        docket of the county in which the land lies.

        19.     The Plaintiff thereafter amended the State Court Complaint to, among other things,

add Baranko as a defendant.


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          Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 9 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              6 of 32
                                                    Judgment Page 6 of 32



        20.     On May 15, 2018, the Clerk entered a second Order of Attachment (the “Second

Attachment Order”) (attached to the Complaint as Exhibit G).

        21.     On May 15, 2018, pursuant to the Second Attachment Order, the Sheriff levied on ten

additional parcels of real property located in Mecklenburg County (collectively the “Second Attached

Properties” and separately listed on Exhibit G to the Complaint).

        22.     The Second Attached Properties were owned by Baranko at the time of the levy. The

Debtors and the Trustee stipulated at the hearing that the First Attached Properties and the Second

Attached Properties are property of the Debtors’ bankruptcy estates.

        23.     The Sheriff returned the levy to the Clerk and, as shown by VCAP, the Clerk docketed

the Sheriff’s return on May 15, 2018 (see Exhibit H attached to the Complaint, showing “ABS CLK

DT: 051518”).

C.      The Debtors’ efforts to dissolve the attachment orders

        24.     On August 15, 2017, pursuant to N.C.G.S. § 1-440.36, the Debtors filed a Motion for

Dissolution of Orders of Attachment (the “First Dissolution Motion”) (Exhibit I attached to the

Complaint). On or about August 24, 2017, after a hearing and while the state court’s ruling was

pending, the Debtors voluntarily withdrew the First Dissolution Motion, without prejudice.

        25.     On October 23, 2018, after the state court trial commenced, the Debtors filed a

Motion for Dissolution and Written Motion for Jury Trial (the “Second Dissolution Motion”) (Exhibit

J attached to the Complaint).

D.      The bankruptcy filings

        26.     The trial in the State Court Litigation began on September 18, 2018. The Individual

Debtor filed his Chapter 13 bankruptcy petition on September 21, 2018 as the state court selected a

jury.




                                                 6

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 10 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              7 of 32
                                                    Judgment Page 7 of 32



        27.      The Plaintiff filed an emergency motion for relief from stay in the Individual Debtor’s

case on September 27, 2018 seeking an order allowing the state court to continue with the trial and

the liquidation of the Plaintiff’s claims. On October 2, 2018, this court orally granted the Plaintiff’s

motion for relief, and the court entered an Order Conditionally Granting Relief from Stay (the “Relief

Order”) in the Individual Debtor’s case on October 31, 2018.

        28.      The Relief Order provides in part that “[n]othing herein shall prevent the Debtor

and/or the defendant entities related to him from challenging any lien, inchoate or otherwise, asserted

by the [Plaintiff].”

        29.      On October 31, 2018, as the state court trial continued, the Corporate Debtors each

filed separate Chapter 11 petitions with this court.

        30.      On November 1, 2018, the Plaintiff and the Corporate Debtors filed a Stipulation

Conditionally Granting Relief from Stay (the “Relief Stipulation”) in each of the Corporate Debtors’

cases, allowing the state court to liquidate the Plaintiff’s claims against the Corporate Debtors and

enter judgment.

E.      Jury verdict and entry of judgment in favor of the Plaintiff

        31.      On November 2, 2018, the state court jury returned a verdict in favor of the Plaintiff

on account of the Debtors’ breach of the Construction Agreement. The state court jury also found

that the Plaintiff had been damaged by the Debtors’ breach of the Construction Agreement.

        32.      On November 28, 2018, the Plaintiff filed a Motion for Costs with the state court.2

The Motion for Costs asks the state court for the entry of an order taxing the costs of the State Court

Litigation to the Debtors pursuant to N.C.G.S. §§ 6-1, 6-20, 7A-305, and 7A-314. The Motion for



2
 The Plaintiff attached the Motion for Costs that it filed in the State Court Litigation to its May 4,
2020 Response of Plaintiff Y2 Yoga Cotswold, LLC to Brief of Defendant A. Burton Shuford, Trustee
for V.R. King Construction, LLC, in Support of Motons [sic] to Dismiss, and the court admitted the
Motion for Costs into evidence at the May 6 hearing in this adversary proceeding.
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 11 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              8 of 32
                                                    Judgment Page 8 of 32



Costs itemizes certain costs, including those for filing fees, certified mail service, process fees, sheriff’s

fees, mediation, depositions, trial exhibits, and expert witnesses. Notably, the Plaintiff did not request

its attorney’s fees in the Motion for Costs.

        33.     On February 8, 2019, the state court entered a) a Final Judgment (the “Judgment”)

(Exhibit K to the Complaint); b) an Order on Defendants’ Motions for Directed Verdict (Exhibit L

to the Complaint); and c) an Order on Post-Verdict Motions (Exhibit M to the Complaint).

        34.     The Judgment awards the Plaintiff “damages in the amount of $396,649.57, with

interest at the legal rate of 8% from and after the date of the breach, March 21, 2014.”

        35.     The Order on Post-Verdict Motions taxes some of the costs requested by the Plaintiff

in its Motion for Costs in the amount of $23,131.98 against the Debtors jointly and severally.

        36.     The state court’s Order on Post-Verdict Motions awards the Plaintiff certain costs

pursuant to four statutory provisions: N.C.G.S. § 6-1 (“Items allowed as costs”); § 6-20 (“Costs

allowed or not, in discretion of court”); § 7A-305 (“Costs in civil actions”); and § 7A-314 (“Uniform

fees for witnesses; experts; limit on number”).

        37.     The Judgment, Order on Defendants’ Motion for Directed Verdict, and Order on

Post-Verdict Motions contain no findings with respect to the Plaintiff’s indemnification claim for legal

fees. The state court record reflects that the court did not consider the Plaintiff’s indemnification claim

for legal fees and that the Plaintiff’s indemnification claim against the Debtors was not litigated in the

State Court Litigation.

        38.     Notwithstanding the Debtors’ demand for a jury trial on their Second Dissolution

Motion, the Judgment shows that the Debtors did not submit any issues to the state court jury related

to the Second Dissolution Motion.

        39.     The Order on Post-Verdict Motions states in part that:

                       Nothing in this Order, however, is intended to or will be
                construed to affirm, confirm, dissolve, dismiss, or set aside the Orders
                                                      8

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 12 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                          Exhibit
      Memorandum Opinion Grantig
                          DocumentPartialPage
                                          Summary
                                              9 of 32
                                                    Judgment Page 9 of 32


                of Attachment entered in connection with this action. Further, nothing
                in this Order is intended to restrict, bar, or limit the United States
                Bankruptcy Court for the Western District of North Carolina from
                affirming, confirming, dissolving, modifying, dismissing, or setting
                aside the Orders of Attachment in this matter.

        40.     It was not necessary for the state court, in the context of post-verdict motions, to

“affirm” or “confirm” the attachment orders. The failure of the state court to do so did not affect the

validity of those orders. The state court also declined to “dissolve, dismiss, or set aside” the two

attachment orders. The Order on Post-Verdict Motions left the First Attachment Order and the

Second Attachment Order, and the liens arising therefrom, in place.

        41.     No appeals have been filed as to any of the state court rulings, including the Judgment,

and the time within which to appeal has expired. The state court rulings and the Judgment are final.

        42.     The Plaintiff’s first claim for relief in this adversary proceeding requests a declaratory

judgment concerning the validity, perfection, and enforceability of the Plaintiff’s attachment liens on

the First Attached Properties and the Second Attached Properties. The Debtors contest the first claim

for relief, but the Trustee does not. The Debtors contend that the Plaintiff’s attachment liens are either

void or, alternatively, unperfected and therefore avoidable by the Trustee.

        43.     The Plaintiff’s second claim for relief requests a declaratory judgment that the

Plaintiff’s attachment liens have priority over the Trustee’s rights in the First Attached Properties and

the Second Attached Properties and that the Plaintiff’s attachment liens are not avoidable by the

Trustee. The Debtors contest the second claim for relief, but the Trustee does not. The Debtors

contend that the Plaintiff’s attachment liens are unperfected and therefore avoidable by the Trustee.

        44.     The Plaintiff’s third claim for relief requests the allowance of the Plaintiff’s indemnity

claims pursuant to the indemnification provisions of the Construction Agreement and 11 U.S.C. § 506.

The Plaintiff contends that i) the Construction Agreement is an “agreement” as that term is used in

§ 506(b); ii) the Construction Agreement requires the Debtors to indemnify the Plaintiff for its legal

                                                    9

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 13 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             10 of Judgment
                                                   32          Page 10 of 32



fees and costs related to the Debtors’ breach of the agreement; iii) it has a secured claim that is secured

by real property the value of which, after any recovery under § 506(c), exceeds the amount of the

Plaintiff’s allowed secured claim; iv) it is entitled to the legal rate of interest on the Judgment; and v)

this court should allow the Plaintiff’s reasonable legal fees and costs related to the Debtors’ breach of

the Construction Agreement.

        45.      The Debtors and the Trustee contest the third claim for relief for somewhat different

reasons. Both the Trustee and the Debtors contend that the doctrines of res judicata and collateral

estoppel bar the Plaintiff’s claims for legal fees. The Trustee also argues that the Rooker-Feldman

doctrine bars the Plaintiff’s claims for legal fees and that the Plaintiff, as the holder of a nonconsensual

lien, is not entitled to attorney’s fees.

        46.      The Plaintiff alleges that it has incurred, and continues to incur, significant legal costs

and expenses in connection with the filing and prosecution of the State Court Litigation and the

preservation of its secured claims in the Debtors’ multiple bankruptcy proceedings.

        47.      The Plaintiff alleges that its claim consists of i) the liquidated damages of $396,649.57

provided for in the Judgment; ii) accrued interest at the legal rate ($196,216.56 through the date of the

May 6 hearing); iii) the legal fees paid to Horack Talley and Guidry during the State Court Litigation;

iv) the 45% contingency fee to be paid to Guidry when and if there is any collection from the Debtors

on the Judgment; and v) the reasonable legal fees and costs paid to and owed to bankruptcy counsel

for representation in multiple bankruptcy proceedings. The Plaintiff further alleges that the claim

amount, as of the date of the May 6 hearing, exceeds $965,000.

        48.      At the May 6 hearing, the Plaintiff’s attorney noted that: a) according to the Debtors’

schedules, the value of the equity in the Debtors’ real property was approximately $883,000; b) the

Individual Debtor testified at a prior hearing that the schedules undervalued the real property; and c)




                                                     10

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 14 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             11 of Judgment
                                                   32          Page 11 of 32



the Trustee recently sold three parcels of real property for an average of 265% more than the

scheduled values.

        Having made the foregoing findings of fact, the court makes the following:

                                 III.    CONCLUSIONS OF LAW

A.      Legal standard

        49.     The Plaintiff sought, and the court allowed, the admission of the Motion for Costs

filed in state court, which was not a part of the original pleadings. This converted the Plaintiff’s Motion

for Judgment on the Pleadings, Alternate Motion for Summary Judgment to a motion for summary

judgment or partial summary judgment.3 “The court shall grant summary judgment if the movant

shows that there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” FED. R. CIV. P. 56(a).4

        50.     “[A]t the summary judgment stage the judge’s function is not himself to weigh the

evidence and determine the truth of the matter but to determine whether there is a genuine issue for

trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The threshold inquiry is whether “there

are any genuine factual issues that properly can be resolved only by a finder of fact because they may

reasonably be resolved in favor of either party.” Id. at 250. “In other words, to grant summary

judgment the court must determine that no reasonable jury could find for the nonmoving party on

the evidence before it.” Perini Corp. v. Perini Constr., Inc., 915 F.2d 121, 124 (4th Cir. 1990) (citing

3
  The key distinction between a motion for judgment on the pleadings pursuant to Federal Rule of
Civil Procedure 12(c) and a motion for summary judgment pursuant to Federal Rule of Civil Procedure
56 is that the court may not consider facts outside the pleadings under Rule 12(c). See FED. R. CIV. P.
12(d) (“If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are presented to
and not excluded by the court, the motion must be treated as one for summary judgment under Rule
56.”); E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 448 (4th Cir. 2011) (explaining
that if a district court considering a Rule 12(b)(6) motion goes beyond the complaint and documents
attached or incorporated into the complaint, the court must convert the motion into one for summary
judgment).
4
  Federal Rule of Bankruptcy Procedure 7056 makes Federal Rule of Civil Procedure 56 applicable to
adversary proceedings in bankruptcy cases.
                                                    11

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 15 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             12 of Judgment
                                                   32          Page 12 of 32



Anderson, 477 U.S. at 248). An issue of fact concerns material facts only if establishment of the fact

might affect the outcome of the lawsuit under governing substantive law. Anderson, 477 U.S. at 248.

All facts and reasonable inferences therefrom are viewed in the light most favorable to the nonmoving

party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986) (quoting United States

v. Diebold, Inc., 369 U.S. 654, 655 (1962)).

        51.      Pursuant to Federal Rule of Bankruptcy Procedure 7056 and Federal Rule of Civil

Procedure 56(g), “[i]f the court does not grant all the relief requested by the motion [for summary

judgment], it may enter an order stating any material fact—including an item of damages or other

relief—that is not genuinely in dispute and treating the fact as established in the case.”

B.      Conclusions with respect to the Plaintiff’s first claim for relief (validity and perfection
        of the Plaintiff’s attachment liens)

        52.      State law generally governs the determination of property interests in bankruptcy cases.

Butner v. United States, 440 U.S. 48, 55 (1979); Universal Coops., Inc. v. FCX, Inc. (In re FCX, Inc.), 853

F.2d 1149, 1153 (4th Cir. 1988). The subject real property is located in North Carolina, so North

Carolina law is determinative of the Plaintiff’s lien rights. In North Carolina, attachment liens are

governed by N.C.G.S. §§ 1-440.1 through 1-440.46. Bankruptcy law governs the potential avoidability

of the Plaintiff’s lien rights.

        53.      The Debtors argue that the Plaintiff’s attachment liens are either void or, alternatively,

unperfected and therefore avoidable by the Trustee. The Debtors’ argument is made with respect to

both the Plaintiff’s first claim for relief (validity and perfection of attachment liens) and the Plaintiff’s

second claim for relief (the attachment liens have priority over the Trustee’s rights). These issues are

therefore somewhat intertwined.

        54.      The thrust of the Debtors’ argument is that, because the Plaintiff did not file a lis

pendens in connection with the State Court Litigation, the attachment liens are subject to avoidance



                                                     12

          Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 16 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             13 of Judgment
                                                   32          Page 13 of 32



by the Trustee pursuant to his 11 U.S.C. § 544 “strong-arm powers.” The Debtors do not otherwise

contest the Plaintiff’s compliance with the North Carolina statutes pertaining to attachment liens.

        55.      The cases cited by the Debtors in their briefs stand for the proposition that a lis

pendens provides constructive notice to subsequent bona fide purchasers of pending litigation. Only

one of the cases cited by the Debtors, however, pertains to attachment liens.5 The cases cited by the

Debtors do not stand for the proposition that the filing of a lis pendens is the exclusive means by

which a bona fide purchaser (or someone in the position of a bona fide purchaser like the Trustee)

may be put on constructive notice of pending litigation.

        56.      The one case cited by the Debtors that does pertain to orders of attachment, Doub v.

Hartford Fire Ins. Co. (In re Medlin), 229 B.R. 353 (Bankr. E.D.N.C. 1998), is supportive of the Plaintiff’s

case. The Debtors’ briefs exclude the language in Medlin that is most relevant to this proceeding: “Lis

pendens is an optional procedure ancillary to the attachment, and the order of attachment is valid even

if not noted on the lis pendens docket.” Id. at 358. A lis pendens may serve to fix lien priority, but a

lis pendens is not required to perfect an attachment order.

        57.      The most pertinent and instructive decision relevant to the issues before this court is

Ivester v. Miller, 398 B.R. 408 (M.D.N.C. 2008). In Ivester, the debtor and two creditors were involved

in state court litigation at the time the debtor filed a bankruptcy petition. Id. at 413–14. The creditors

had obtained an order of attachment, the sheriff had levied on real property of the debtor pre-petition,

and the creditors had been awarded partial summary judgment in an amount exceeding $900,000. Id.

Before the trial on the remaining claims, the debtor filed a Chapter 7 bankruptcy petition. Id. at 414.

5
 The cases cited by the Debtors that are not germane to the issue of whether an order of attachment
provides notice to a bona fide purchaser include: Angell v. Faison (In re Faison), 518 B.R. 849 (Bankr.
E.D.N.C. 2014); Sea Horse Realty & Constr., Inc. v. Citimortgage, Inc. (In re Sea Horse Realty & Constr., Inc.),
Ch. 11 Case No. 11-07223-8, Adv. No. 11-00377-8, 2012 WL 3249548 (Bankr. E.D.N.C. Aug. 7, 2012)
(order denying plaintiff’s motion for partial summary judgment); In re Suggs, 355 B.R. 525 (Bankr.
M.D.N.C. 2006); Lawing v. Jaynes, 285 N.C. 418, 206 S.E.2d 162 (1974); and Cutter v. Cutter Realty Co.,
265 N.C. 664, 144 S.E.2d 882 (1965).
                                                      13

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 17 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             14 of Judgment
                                                   32          Page 14 of 32



The Chapter 7 trustee removed the state court action to federal court and objected to the creditors’

motion for relief from stay that sought an order allowing the state court to proceed to final judgment.

Id. The bankruptcy court denied the motion for relief, stating that the creditors’ “interests in the

attached property were not perfected because no final judgment [had been] entered, thus

subordinating their interests to the Trustee’s strong arm powers.” Id. (citing In re Bradshaw, No. 06-

11111, 2007 WL 542161, at *4, *6 (Bankr. M.D.N.C. Feb. 16, 2007)). The creditors appealed the

bankruptcy court decision. Id. The United States District Court held that under N.C.G.S. § 1-

440.33(b), a creditor’s attachment lien is perfected, “to the extent ‘perfection’ is meant to stake the

plaintiff’s place in line vis-á-vis subsequent creditors,” “upon the docketing and indexing of the levy

by the county clerk,” subject to the eventual entry of a final judgment. Id. at 416–17, 419. The Ivester

court further held that the creditors’ interest in the property was superior to the trustee’s as long as

the state court lawsuit was viable, so the creditors’ attachment lien rights were not subject to avoidance

by the Chapter 7 trustee. Id. at 419–20.

        58.     Importantly, in the Ivester case, the creditors had obtained an order of attachment (as

did the Plaintiff herein), but the creditors did not file a separate lis pendens before the bankruptcy

case commenced.6 The rationale of Ivester would allow a creditor’s post-petition judgment to relate

back to a pre-petition attachment order,7 and the attachment lien would not be avoidable by the trustee

if the attachment order was docketed more than ninety days prior to the bankruptcy filing. The Ivester



6
  While Ivester refers to a lis pendens, see 398 B.R. at 419 (“Based on the North Carolina attachment
lien statute and relevant case law, the court concludes that the Ivesters ‘perfected’ their attachment
lien in the real property on October 21, 2005, the date of levy and recordation of their lis pendens,
almost a year before their petition date.”), based on the facts recounted in the order, the context, and
the order as a whole, the court believes this reference is to the entry of the levies pursuant to the order
of attachment on the lis pendens docket and not to a separate lis pendens, see, e.g., id. at 413 (describing
the entry of a certificate of levy pursuant to the attachment order on the lis pendens docket on October
21, 2005).
7
  The issue before the court in Ivester was whether the creditors should be allowed relief from stay to
proceed to judgment. 398 B.R. at 429–20.
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 18 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             15 of Judgment
                                                   32          Page 15 of 32



decision also confirms that in North Carolina, a creditor who obtains an order of attachment, which

is levied upon and docketed by the clerk, is not required to also file a lis pendens. The filing of a lis

pendens is optional. The lis pendens is only relevant to determining when a lien is perfected. If a

creditor obtains an order of attachment and files a lis pendens in the same litigation, the judgment

relates back to the earliest document filed.

        59.     A North Carolina Court of Appeals decision cited by the Ivester court, which also

supports the Plaintiff’s attachment lien rights, is Edwards v. Brown’s Cabinets, 63 N.C. App. 524, 305

S.E.2d 765 (1983). The Brown’s Cabinets court noted that:

                        When an order of attachment is perfected by a levy, a lien of
                attachment is created thereby which establishes the lienor’s claim as
                against all other creditors and subsequent lienors. The date to which
                the lien relates back and fixes the priority of the claim is established,
                with respect to real property, is the time at which the notice of the
                order of attachment is docketed in the record of lis pendens in the county
                where the property is located. G.S. 1-440.33(b)(1). A person claiming
                under a conveyance or encumbrance executed subsequent to the
                docketing of the notice of the order with respect to the property
                conveyed or encumbranced takes subject to the action whose
                pendency was so noted.

63 N.C. App. at 528, 305 S.E.2d at 768 (citing Cutter v. Cutter Realty Co., 265 N.C. 664, 144 S.E.2d 882

(1965); JAMES A. WEBSTER, JR., REAL ESTATE LAW IN NORTH CAROLINA § 497 (1981)).

        60.     Brown’s Cabinets is consistent with Voehringer v. Pollock, 224 N.C. 409, 30 S.E.2d 374

(1944), in which the Supreme Court of North Carolina states that “[t]he jurisdiction of the Court

derived from a levy under a warrant of attachment dates from the levy, but the lien becomes effective

as to third parties, when certified to the Clerk of the Superior Court and indexed in the manner

prescribed in the statute.” 224 N.C. at 411, 30 S.E.2d at 376 (citations omitted). Based on the facts of

this case and the relevant decisions, the court concludes that the levy and docketing of the orders of

attachment by the Plaintiff herein perfected the Plaintiff’s lien rights on the First Attached Properties




                                                   15

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 19 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             16 of Judgment
                                                   32          Page 16 of 32



and the Second Attached Properties without the Plaintiff having taken the optional step of filing a lis

pendens.

       61.     The Debtors raised several arguments at the hearing that do not appear to have been

pled or briefed. First, the Debtors argued that the attachment orders are void because the state court

jury concluded that the Debtors had not fraudulently transferred several parcels of real property. The

Debtors provided no legal support for the argument. Though not articulated, the Debtors appear to

be questioning whether the Plaintiff had grounds to seek the attachment orders under N.C.G.S. § 1-

440.3. This is an improper collateral attack on the two attachment orders that is prohibited by the

Rooker-Feldman doctrine. See Allison B. Jones, Note, The Rooker-Feldman Doctrine: What Does It Mean

to Be Inextricably Intertwined?, 56 DUKE L.J. 643, 644 (2006) (“At its most basic, the Rooker-Feldman

doctrine, named after the two cases from which it sprung, is the principle that lower federal courts do

not have jurisdiction to review state court judgments.”). Furthermore, the Judgment shows that the

state court jury did not make any findings with respect to the two attachment orders. Rather, the jury

found against the Plaintiff on a separate fraudulent transfer cause of action that had been pled by the

Plaintiff in its State Court Complaint. The Debtors’ argument is defective as the jury verdict is not

related to, and has no impact on, the validity of the two attachment orders.

       62.     Second, the Debtors implicitly argue that this court has the authority to dissolve the

state court’s attachment orders. The Debtors have provided no legal basis to support the ability of

this court to grant such relief. Both the Relief Order and the Relief Stipulation provide in part that

“[n]othing herein shall prevent the Debtor and/or the defendant entities related to him from

challenging any lien, inchoate or otherwise, asserted by the [Plaintiff].” The Debtors attempted twice

to dissolve the two attachment orders in state court. The court concludes that there is no legal basis

by which the Debtors would be allowed a third opportunity. N.C.G.S. § 1-440.36 is the only statutory

basis by which the Debtors could have dissolved the First Attachment Order and the Second

                                                  16

           Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 20 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             17 of Judgment
                                                   32          Page 17 of 32



Attachment Order. Because a judgment has already been entered in the State Court Litigation, that

relief is no longer available to the Debtors. See N.C. GEN. STAT. § 1-440.36(a) (“At any time before

judgment in the principal action, a defendant whose property has been attached may specially or

generally appear and move, either before the clerk or the judge, to dissolve the order of attachment.”)

(emphasis added). The Order on Post-Verdict Motions entered by the state court states that the First

Attachment Order and the Second Attachment Order were not “dissolved, dismissed, or set aside.”

Therefore, the First Attachment Order and the Second Attachment Order, as well as the Plaintiff’s

attachment liens, continue to be valid.

        63.     Third, the Debtors argue that the Plaintiff’s attachment liens are avoidable since the

Judgment was not entered until after the Debtors had filed bankruptcy. The Debtors offered no legal

support for this argument. The Plaintiff obtained relief from stay in four separate bankruptcy

proceedings specifically so that the state court could liquidate the Plaintiff’s claim and enter the

Judgment. The Debtors’ argument is contrary to Ivester, where a judgment entered after a bankruptcy

filing would have related back to the date an order of attachment was levied and docketed by the clerk.

“Under the North Carolina statutory scheme for attachment liens, as long as the underlying principal

action remains viable the attachment lien survives in bankruptcy and must be valued, whether through

litigation or through the proof of claim process.” Ivester, 398 B.R. at 427 n.19. This argument by the

Debtors also fails.

C.      Conclusions with respect to the Plaintiff’s second claim for relief (Plaintiff’s
        attachment liens have priority over the Trustee’s rights and are not avoidable by the
        Trustee)

        64.     The Debtors contend that the Plaintiff’s attachment liens are unperfected and

therefore avoidable by the Trustee. The Trustee, who has conceded this claim for relief, does not

concur with the Debtors. The court has heretofore concluded that the Plaintiff’s attachment liens are

perfected and that the Plaintiff was not required to file a lis pendens in order to perfect its attachment

                                                   17

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 21 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             18 of Judgment
                                                   32          Page 18 of 32



liens. Ivester is also contrary to the Debtors’ argument, in that the Ivester court concluded that a creditor’s

pre-petition attachment lien was superior to the Chapter 7 trustee’s hypothetical lien creditor status

and that the creditor’s post-petition judgment would relate back to the docketing and levy of the order

of attachment.

        65.      While federal law provides the trustee with “strong-arm” powers pursuant to 11 U.S.C.

§ 544, state law governs the trustee’s use of those powers. Crestar Bank v. Neal (In re Kitchin Equip. Co.),

960 F.2d 1242, 1245 (4th Cir. 1992) (citing Havee v. Belk, 775 F.2d 1209, 1218 (4th Cir. 1985)). Section

544(a)(1) provides that, as of the date of the bankruptcy petition filing, the trustee obtains the rights

of a hypothetical judgment lien creditor. Through this statute, “the trustee becomes the ‘ideal creditor,

irreproachable and without notice, armed cap-a-pie with every right and power which is conferred by

the law of the state upon its most favored creditor who has acquired a lien by legal or equitable

proceedings.’ ” Havee, 775 F.2d at 1218 n.15 (quoting In re Kravitz, 278 F.2d 820, 822 (3d Cir. 1960)).

Section 544(a)(3) places the trustee in the position of a bona fide purchaser, and, “[a]s such, the trustee

may avoid a claim against the debtor’s estate if a bona fide purchaser would have defeated the claim.”

Butler v. Deutsche Bank Tr. Co. Ams. (In re Rose), Ch. 7 Case No. 08-00625-8, Adv. No. 08-00080-8, 2009

WL 2226658, at *2 (Bankr. E.D.N.C. July 20, 2009) (citing § 544(a)(3)).

        66.      Pursuant to N.C.G.S. 1-440.33(b), the Plaintiff’s liens on the First Attached Properties

were perfected and effective as to third parties when the levy was docketed on June 29, 2017. The

Plaintiff’s attachment liens on the Second Attached Properties were perfected and became effective

as to third parties when the levy was docketed on May 15, 2018. All of the Plaintiff’s attachment liens

were perfected prior to the commencement of the Debtors’ bankruptcy cases. The Trustee is therefore

not able to avoid the Plaintiff’s attachment liens because North Carolina “law contemplates that a

purchaser of land will examine each recorded deed or other instrument in his chain of title, and charges

him with notice of every fact affecting his title which such an examination would disclose.” Hensley v.

                                                      18

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 22 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             19 of Judgment
                                                   32          Page 19 of 32



Ramsey, 283 N.C. 714, 730, 199 S.E.2d 1, 10 (1973) (quoting Higdon v. Jaffa, 231 N.C. 242, 248, 56

S.E.2d 661, 665 (1949)). This principle has been interpreted to extend to every “document” in the

chain of title. See Butler, 2009 WL 2226658, at *3. The court believes that the First Attachment Order

and the Second Attachment Order, levied upon and docketed by the Clerk, are the very sort of

documents in the chain of title of the Debtors’ real property that would alert a bona fide purchaser to

the pending State Court Litigation affecting title to that property.

        67.     The Debtors also argue in their briefs that the attachment liens are avoidable

preferences. This argument is, by definition, incorrect. The Plaintiff is not an “insider” pursuant to 11

U.S.C. § 101(31), so, to be a preferential transfer under 11 U.S.C. § 547, the Plaintiff’s attachment liens

would need to have been perfected within the 90 days prior to the filing of the bankruptcy cases of

the Individual Debtor and/or the Corporate Debtors. The Plaintiff’s attachment liens were perfected

outside of the 90-day “look-back period” in § 547. Therefore, the perfection of the Plaintiff’s

attachment liens is not preferential.

        68.     The court agrees with the Plaintiff’s interpretation of the North Carolina statutes and

the interpretation of those statutes by the Medlin, Brown’s Cabinets, and Ivester courts. The facts show

that the Plaintiff meets all of the criteria for having perfected, unavoidable attachment liens on the

Debtors’ real property.

D.    Conclusions with respect to the Plaintiff’s third claim for relief (allowance of the
      Plaintiff’s indemnity claims for legal fees pursuant to agreement with the Debtors and
      11 U.S.C. § 506(b))

      69.       11 U.S.C. § 506(b) provides that:

                         To the extent that an allowed secured claim is secured by
                property the value of which, after any recovery under subsection (c) of
                this section, is greater than the amount of such claim, there shall be
                allowed to the holder of such claim, interest on such claim, and any
                reasonable fees, costs, or charges provided for under the agreement or
                State statute under which such claim arose.



                                                    19

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 23 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             20 of Judgment
                                                   32          Page 20 of 32


          1.     There is an enforceable “agreement” between the Plaintiff and the Debtors, as
                 that term is used in 11 U.S.C. § 506(b)

          70.    In applying § 506(b) to the facts herein, the court must first determine whether there

is an “agreement . . . under which such claim arose.” If there is no “agreement,” then there would be

no need for the court to analyze any of the other statutory elements. In this case there is such an

agreement: the Construction Agreement between the Plaintiff and the Debtors.

          2.     The indemnification provision of the Construction Agreement is valid and
                 enforceable

          71.    The Debtors, but not the Trustee, have challenged the validity of the indemnification

provisions in the Construction Agreement, arguing that the provision is invalid under N.C.G.S. § 22B-

1.8 The Debtors’ first affirmative defense is that “North Carolina law states it is against public policy

to have an indemnity clause in a construction or service contract.” This is a misstatement of the law.

          72.    Contracts providing for indemnification are generally enforceable. The indemnity

provisions to which N.C.G.S. § 22B-1 applies are those construction indemnity provisions which

attempt to indemnify a party against its own negligence. “The statute specifically does not apply to a

contract, promise, or agreement in which one agrees to indemnify another ‘against liability for damages

8
    As of the date the parties executed the Construction Agreement, N.C.G.S. § 22B-1 (1993) provided:

                 Any promise or agreement in, or in connection with, a contract or
                 agreement relative to the design, planning, construction, alteration,
                 repair or maintenance of a building, structure, highway, road,
                 appurtenance or appliance . . . purporting to indemnify or hold
                 harmless the promisee, the promisee’s independent contractors,
                 agents, employees, or indemnitees against liability for damages arising
                 out of bodily injury to persons or damage to property proximately
                 caused by or resulting from the negligence, in whole or in part, of the
                 promisee, its independent contractors, agents, employees, or
                 indemnitees, is against public policy and is void and unenforceable.
                 Nothing contained in this section shall prevent or prohibit a contract,
                 promise or agreement whereby a promisor shall indemnify or hold
                 harmless any promisee or the promisee’s independent contractors,
                 agents, employees or indemnitees against liability for damages resulting
                 from the sole negligence of the promisor, its agents or employees.
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           Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 24 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             21 of Judgment
                                                   32          Page 21 of 32



resulting from the sole negligence of the promisor, its agents or employees.’ ” Int’l Paper Co. v. Corporex

Constructors, Inc., 96 N.C. App. 312, 315, 385 S.E.2d 553, 555 (1989) (quoting § 22B-1) (emphasis

removed). “Indemnity contracts generally are enforced according to their terms,” Hanover Ins. Co. v.

Lanier, No. 12-CV-50, 2013 WL 3455735, at *3 (E.D.N.C. July 9, 2013) (citations omitted), and “[t]his

is particularly true where, as here, the parties presumably dealt at arms length and without the exercise

of superior bargaining power,” Cooper v. H.B. Owsley & Son, Inc., 43 N.C. App. 261, 267, 258 S.E.2d

842, 846 (1979) (citation omitted).

        73.     By the explicit terms of paragraph 3(b) of the Construction Agreement, the Plaintiff is

not attempting to hold the Debtors responsible for its own negligence. The language in paragraph

3(b) clearly states that the Plaintiff would be entitled to be indemnified for claims arising from the

Debtors’ negligence. The indemnification provision in the Construction Agreement between the

Plaintiff and the Debtors, by its plain terms, is the type of indemnity which is expressly allowed by

N.C.G.S. § 22B-1.9 The court, therefore, finds that the indemnification provision in the Construction

Agreement is valid and enforceable under North Carolina law.

        3.      The Judgment is not res judicata as to the Plaintiff’s indemnification claims in
                this adversary proceeding

        74.     The Debtors and the Trustee argue that the court should dismiss this claim for lack of

subject matter jurisdiction because the Judgment was res judicata as to the Plaintiff’s indemnification

claims. The court disagrees.

        75.     Res judicata (claim preclusion) and collateral estoppel (issue preclusion) are

companion doctrines. “The basic difference between claim preclusion and issue preclusion is simply

put: claim preclusion applies to whole claims, whether litigated or not, whereas issue preclusion applies

to particular issues that have been contested and resolved.” 18 JAMES W. MOORE ET AL., MOORE’S

9
  The indemnification clause in the Construction Agreement is also a reciprocal attorney’s fees
provision pursuant to N.C.G.S. § 6-21.6.
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 25 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             22 of Judgment
                                                   32          Page 22 of 32



FEDERAL PRACTICE-CIVIL ¶ 131.13[1] (2020). Res judicata arises when a final judgment concerns the

actual facts giving rise to the claim. Collateral estoppel arises when the claim at bar has not been

litigated, but the exact issue that is now before the court has been raised and litigated in an earlier

action.

          76.   The full faith and credit statute compels a federal court to accord a state court

judgment the same preclusive effect that it would be accorded by the rendering state court. Marrese v.

Am. Acad. of Orthopaedic Surgeons, 470 U.S. 373, 380 (1985) (quoting 28 U.S.C. § 1738). Since a North

Carolina court applying North Carolina law entered the Judgment, North Carolina law will determine

the preclusive effect of the Judgment. The essential elements of res judicata are: “(1) a final judgment

on the merits in an earlier suit, (2) an identity of the causes of action in both the earlier and the later

suit, and (3) an identity of the parties or their privies in the two suits.” Herring v. Winston-Salem/Forsyth

Cnty. Bd. of Educ., 188 N.C. App. 441, 444, 656 S.E.2d 307, 310 (2008) (quoting Moody v. Able Outdoor,

Inc., 169 N.C. App. 80, 84, 609 S.E.2d 259, 262 (2005)). Under North Carolina law, “where the second

action between the same parties is upon a different claim or demand, the judgment in the prior action

operates as an estoppel only as to those matters in issue or points controverted, upon the

determination of which the finding or verdict was rendered.” Edwards v. Edwards, 118 N.C. App 464,

468, 456 S.E.2d 126, 128 (1995) (quoting Thomas M. McInnis & Assocs., Inc. v. Hall, 318 N.C. 421, 427,

349 S.E.2d 552, 556 (1986)).

          77.   North Carolina has a policy of permissive joinder of claims.10 It was this policy which

led the Edwards court to reject “the proposition that joinder of an non-accrued indemnification claim

was mandatory.” Id. at 472, 456 S.E.2d at 131. The Edwards decision cites numerous court decisions

10
   Under North Carolina’s joinder rules, “[a] party asserting a claim for relief . . . may join, either as
independent or as alternate claims, as many claims, legal or equitable, as he has against an opposing
party,” N.C.R. CIV. P. 18(a), and “[w]henever a claim is one heretofore cognizable only after another
claim has been prosecuted to a conclusion, the two claims may be joined in a single action,” N.C.R.
CIV. P. 18(b).
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           Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 26 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             23 of Judgment
                                                   32          Page 23 of 32



where North Carolina courts “have consistently rejected efforts to disallow [attorney’s fee] awards not

pursued in the earlier principal action.” Id. at 473, 456 S.E.2d 131–32 (citations omitted). Similarly, in

Bridgestone/Firestone, Inc. v. Ogden Plant Maint. Co., the North Carolina Court of Appeals allowed a

plaintiff to pursue indemnity claims after the settlement of an underlying wrongful death lawsuit. 144

N.C. App. 503, 505, 510, 548 S.E.2d 807, 809, 812 (2001).

        78.     The Debtors also argue that the Plaintiff’s indemnification claims are barred by the

doctrine of merger, a collateral aspect of res judicata that determines the scope of claims precluded

from relitigation by an existing judgment. Under the doctrine of merger, a plaintiff may not try to

recover more damages for a claim or cause of action after judgment on the merits. Merger prevents

claim-splitting and requires all damages resulting from a single wrong or cause of action to be

recovered in one suit. See Bockweg v. Anderson, 333 N.C. 486, 492, 428 S.E.2d 157, 161 (1993) (citing

Smith v. Pate, 246 N.C. 63, 67, 97 S.E.2d 457, 460 (1957)). The doctrine requires that “all matters, either

fact or law, that were or should have been adjudicated in the prior action are deemed concluded.”

McInnis, 318 N.C. at 428, 349 S.E.2d at 556 (citations omitted). Stated otherwise, “a party suing for

the breach of an indivisible contract must sue for all of the benefits which have accrued at the time of

suit or be precluded from maintaining a subsequent action for installments omitted.” Behr v. Behr, 46

N.C. App. 694, 698, 266 S.E.2d 393, 396 (1980) (citations omitted).

        79.     The court concludes that, upon applying the facts of this case, the elements of res

judicata are not met and res judicata does not bar the Plaintiff’s indemnification claims in this

proceeding. While there is an identity of parties between the State Court Litigation and this adversary

proceeding, the other elements of res judicata are not met.

                a.      There was no final judgment on the merits of the Plaintiff’s
                        indemnification claims in the State Court Litigation

        80.     Neither the jury nor the state court made any findings concerning the Plaintiff’s

indemnification claims. The state court orders do not reference the Plaintiff’s claims for indemnity.
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 27 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             24 of Judgment
                                                   32          Page 24 of 32



There was no final judgment concerning the Plaintiff’s indemnification claims in the State Court

Litigation.

                b.        There is no identity of the causes of action between the State Court
                          Litigation and this adversary proceeding

        81.     The Plaintiff’s third claim for relief in this adversary proceeding, which requests the

allowance of its indemnification claims pursuant to 11 U.S.C. § 506(b), is not identical to any of the

causes of action in the State Court Litigation. The Edwards decision makes clear that there is “a

substantial distinction” between an underlying action and a subsequent request for legal fees arising

from the underlying action. 118 N.C. App at 473, 456 S.E.2d at 131.

                c.        The doctrine of merger does not bar the Plaintiff’s indemnification
                          claims

        82.     The Plaintiff’s claims for indemnification had not accrued at the time the Plaintiff filed

its complaint in the State Court Litigation, in that neither the Debtors’ breach of the Construction

Agreement nor the Debtors’ liability under the indemnification clause had been determined. The

Edwards court ruled that a plaintiff was not barred by the doctrine of merger from asserting

indemnification claims for legal fees after judgment in a breach of contract action, because the “claim

for indemnification had not accrued at the time of filing his complaint for specific performance in

that neither had breach of the Agreement been determined nor had he incurred counsel fees.” Id. at

471, 456 S.E.2d at 130.

        4.      The Plaintiff is not collaterally estopped from pursuing its indemnification
                claims in this adversary proceeding

        83.     The Debtors and the Trustee argue that the court should dismiss the Plaintiff’s third

claim for relief, or alternatively decide that it lacks subject matter jurisdiction, because the Plaintiff is

collaterally estopped from asserting its indemnification claims after entry of the Judgment by the state

court. As with the doctrine of res judicata, North Carolina law will determine the collateral estoppel

effect of the Judgment. Under North Carolina law, “where the second action between the same parties
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 28 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             25 of Judgment
                                                   32          Page 25 of 32



is upon a different claim or demand, the judgment in the prior action operates as an estoppel only as

to those matters in issue or points controverted, upon the determination of which the finding or

verdict was rendered.” Id. at 468, 456 S.E.2d at 128 (quoting McInnis, 318 N.C. at 427, 349 S.E.2d at

556).

        84.     In U.S. Fire Ins. Co. v. Se. Airmotive Corp., the North Carolina Court of Appeals noted

that:

                Collateral estoppel is applicable only (1) where the issues to be
                precluded are the same as those involved in the prior action, (2) where
                those actions were actually raised and litigated, (3) where the issues
                must have been relevant to the disposition of the prior action, and (4)
                where the determination of those issues must have been necessary to
                the resulting judgment.

102 N.C. App. 470, 473, 402 S.E.2d 466, 468 (1991) (citing King v. Grindstaff, 284 N.C. 348, 358, 200

S.E.2d 799, 806 (1973)). The North Carolina Supreme Court has stated that “[a] very close

examination of matters actually litigated must be made in order to determine if the underlying issues

are in fact identical. If they are not identical, then the doctrine of collateral estoppel does not apply.”

Beckwith v. Llewellyn, 326 N.C. 569, 574, 391 S.E.2d 189, 191 (1990).

        85.     A close examination of the facts in this case shows that the factors necessary for the

application of collateral estoppel in the U.S. Fire case are not present.

                a. The Plaintiff’s indemnification rights against the Debtors are not the same
                   as the issues involved in the State Court Litigation

        86.     The Edwards decision held that an indemnification claim is a “separate and distinct

issue” from the underlying breach of contract action and that a plaintiff’s assertion of its

indemnification claim for attorney’s fees is not barred by the principle of collateral estoppel. 118 N.C.

App. at 469, 456 S.E.2d at 129.




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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 29 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             26 of Judgment
                                                   32          Page 26 of 32


                b. The Plaintiff’s indemnification claims were not actually litigated in the
                   State Court Litigation

        87.     The Plaintiff did not request its attorney’s fees pursuant to the indemnification

provision in the Construction Agreement at the conclusion of the State Court Litigation.11 Nothing in

the record, including the Judgment and the other state court orders, indicates that the Plaintiff’s

indemnification claims for attorney’s fees were actually litigated in the State Court Litigation. No

findings were made by the state court with respect to the Plaintiff’s attorney’s fees.

                c. The Plaintiff’s indemnification claims were not relevant to the disposition
                   of the State Court Litigation

        88.     The Plaintiff’s indemnification claims against the Debtors did not accrue until the state

court determined the Debtors’ liability for breach of contract and damages on account of that breach

upon entry of the Judgment on February 8, 2019. The indemnification claims sought by the Plaintiff

in this proceeding are “separate and distinct” from the claims that the Plaintiff pursued in the State

Court Litigation and, as such, the Plaintiff’s indemnification claims were not relevant to the disposition

of the State Court Litigation.

                d. The determination of the Plaintiff’s indemnification claims was not
                   necessary to the Judgment in the State Court Litigation

        89.     The Plaintiff was not required to pursue its unaccrued indemnification claims in the

State Court Litigation because joinder of the indemnification claims was not mandatory. A close

examination of the matters actually litigated shows that the Plaintiff’s indemnification claims are totally

dissimilar to any of the issues in the State Court Litigation. In the State Court Litigation, the state

court only determined the causes of action as they existed at the time of the filing of the State Court



11
  The State Court Complaint includes standard language requesting the payment of attorney’s fees,
but, given the bankruptcy cases filed by the Debtors prior to the conclusion of the state court trial,
the court understands why the Plaintiff decided not to request fees from the state court and instead
to pursue the collection of all of its attorney’s fees, for the state court trial and the bankruptcy cases,
in this court.
                                                    26

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 30 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             27 of Judgment
                                                   32          Page 27 of 32



Complaint in 2016, and these causes of action did not include the Plaintiff’s right to be indemnified

for its legal fees by the Debtors. As such, the determination of the Plaintiff’s indemnification claims

was not necessary to the state court Judgment.

        90.     The court therefore concludes that the doctrine of collateral estoppel does not apply

to or bar the Plaintiff’s indemnification claims against the Debtors in this adversary proceeding.

        5.      The Rooker-Feldman doctrine does not bar the Plaintiff from pursuing its
                indemnification claims in this adversary proceeding

        91.     The Trustee argues that the Plaintiff’s indemnification claims are barred by the

Rooker-Feldman doctrine. The Trustee claims the Plaintiff is attempting to modify or seek this court’s

review of the Judgment of the state court. The court disagrees. As stated above, the Plaintiff is seeking

an indemnification claim which is a “separate and distinct issue” from the underlying breach of

contract action in the State Court Litigation. The Supreme Court has held that the Rooker-Feldman

doctrine is a narrow jurisdictional bar to “cases brought by state-court losers complaining of injuries

caused by state-court judgments rendered before the district court proceedings commenced and

inviting district court review and rejection of those judgments.” Exxon Mobil Corp. v. Saudi Basic Indus.

Corp., 544 U.S. 280, 284 (2005). The Supreme Court in Exxon noted that “[i]f a federal plaintiff

‘present[s] some independent claim, . . . then there is jurisdiction and state law determines whether the

defendant prevails under principles of preclusion.’ ” Id. at 293 (quoting GASH Assocs. v. Village of

Rosemont, 995 F.2d 726, 728 (7th Cir. 1993) (second alteration in original)).

        92.     In the present case, the Plaintiff is not attempting to appeal or overturn the Judgment

entered by the state court. The Plaintiff was the “winner” in the State Court Litigation. The court

concludes that the Plantiff’s assertion of indemnification claims in this adversary proceeding is not

barred by the Rooker-Feldman doctrine.




                                                   27

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 31 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             28 of Judgment
                                                   32          Page 28 of 32



        6.      Other issues relevant to the Plaintiff’s 11 U.S.C. § 506(b) claims

                a.      Valuation of collateral

        93.     The court’s determination of the Plaintiff’s 11 U.S.C. § 506(b) claims depends in part

on the extent to which the value of the Plaintiff’s collateral exceeds the amount of the Plaintiff’s

allowed secured claim. The Plaintiff argues that: a) as of the May 6, 2020 hearing date, the Judgment

amount plus accrued interest at the legal rate totaled $615,998.11; b) with legal fees and costs, its claim

could exceed $965,000; c) the value of the equity in the real property that is subject to its attachment

liens is approximately $883,000 using the scheduled values and scheduled secured claims; d) the

Individual Debtor previously testified that the scheduled values were not accurate; and e) given that

the average sales price of the Debtors’ real property sold by the Trustee exceeded the scheduled values

by approximately 265%, the actual equity in the Plaintiff’s collateral could be in excess of $2,000,000.

        94.     The Plaintiff concedes that its secured status for § 506(b) purposes cannot be

determined until the Trustee actually sells the Debtors’ real property. The Fourth Circuit held in Ford

Motor Credit Co. v. Dobbins that when there is an issue about whether a creditor is oversecured or

undersecured, the collateral is actually sold during the pendency of the case, and the terms of the sale

are fair and the result of an arm’s-length transaction, the court “should use the sale price, not some

earlier hypothetical valuation, to determine whether a creditor is oversecured and thus entitled to

postpetition interest under § 506(b).” 35 F.3d 860, 870 (1994) (citations omitted).

                b.      The Plaintiff’s entitlement to reasonable attorney’s fees as the holder of
                        a nonconsensual lien

        95.     The Trustee’s Reply Brief argues that the Plaintiff is not entitled to its legal fees under

§ 506(b) pursuant to Rushton v. State Bank of S. Utah (In re Gledhill), 164 F.3d 1338, 1342 (10th Cir. 1999)

(holding that a creditor is not entitled to legal fees under § 506(b) if the creditor’s lien arose not by

agreement but by operation of law and is a nonconsensual lien). In response, the Plaintiff cited

McCormick v. Starion Fin. (In re McCormick), 894 F.3d 953, 957–58 (8th Cir. 2018) (holding that a creditor
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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 32 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             29 of Judgment
                                                   32          Page 29 of 32



is entitled to legal fees under § 506(b) where there are agreements to pay attorney’s fees even if the

creditor’s liens are nonconsensual).

                c.       Relevance of 11 U.S.C. § 506(b) in a solvent Chapter 7 case

        96.     The Plaintiff suggested to the court that, if the Debtors’ bankruptcy estates are solvent,

the Plaintiff would be entitled to its reasonable attorney’s fees and the court would not necessarily

need to decide the § 506(b) issues. See SummitBridge Nat'l Invs. III, LLC v. Faison, 915 F.3d 288, 292–

97 (4th Cir. 2019) (concluding that §§ 502(b) & 506(b) do not disallow unsecured claims for post-

petition attorney’s fees).

        97.     At the May 6, 2020 hearing, the court determined that it should defer ruling on these

additional issues, and it asked the parties to file supplemental briefs addressing the issues. Having

considered the record herein, including the schedules filed by the Debtors and the supplemental briefs

of the parties, the court concludes pursuant to SummitBridge that even if the Plaintiff is found not to

have allowable § 506(b) claims, the Plaintiff would have an allowable general unsecured claim for its

reasonable attorney’s fees. Id. Since it appears that the Debtors’ bankruptcy estates may be solvent

and capable of paying all secured and unsecured claims in full, any opinion by the court on the

remaining § 506(b) issues at this point would be advisory and unnecessary.

        7.      Conclusions with respect to the Debtors’ affirmative defenses

        98.     In their Answer to the Plaintiff’s Complaint, the Corporate Debtors list twelve

affirmative defenses. Each of the affirmative defenses has either already been addressed in this order

or was not pursued by the Debtors in their briefs or at the hearings. Accordingly, each of the

affirmative defenses has either been rejected by the court or waived by the Debtors.

        8.      Conclusions with respect to the Corporate Debtors’ Rule 12 Motion

        99.     On April 16, 2020, the Corporate Debtors filed a Motion for Extension of Time to

File Dispositive Motions. On May 1, 2020, the court entered its Order Granting Motion for Extension

                                                   29

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 33 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             30 of Judgment
                                                   32          Page 30 of 32



of Time to File Dispositive Motions and extended the time for the Corporate Debtors to file

dispositive motions until May 17, 2020. The May 1, 2020 Order did not grant the Corporate Debtors

additional time to respond to the Plaintiff’s summary judgment motion, which was heard by the court

on May 6, 2020. At the May 6, 2020 hearing, the court orally granted summary judgment in favor of

the Plaintiff as to its first and second claims for relief; the defenses of lack of jurisdiction, res judicata,

collateral estoppel, and the Rooker-Feldman doctrine; and the affirmative defenses asserted in the

Corporate Debtors’ Answer to the Complaint.

        100.     The Corporate Debtors filed their Motion for Judgment on the Pleadings or in the

Alternative Motion for Summary Judgment (“Rule 12 Motion”) on May 18, 2020. The Rule 12 Motion

makes arguments that are contrary to and inconsistent with the rulings that were made by the court at

the May 6, 2020 hearing. Each of the arguments in the Rule 12 Motion is therefore barred by the law

of the case doctrine. This doctrine dictates that “when a court decides upon a rule of law, that decision

should continue to govern the same issues in subsequent stages in the same case.” Christianson v. Colt

Indus. Operating Corp., 486 U.S. 800, 815–16 (1988) (quoting Arizona v. California, 460 U.S. 605, 618

(1983)). This rule is intended to promote the “finality and efficiency of the judicial process by

‘protecting against the agitation of settled issues,’ ” id. at 816 (quoting 1B JAMES W. MOORE ET AL.,

MOORE’S FEDERAL PRACTICE ¶ 0.404[1] (1984)), but is nevertheless discretionary and “merely

expresses the practice of courts generally to refuse to reopen what has been decided, not a limit to

their power,” id. at 817 (quoting Messinger v. Anderson, 225 U.S. 436, 444 (1912)).

        101.     The Fourth Circuit has held that courts should follow the law of the case doctrine

“unless: (1) a subsequent trial produces substantially different evidence, (2) controlling authority has

since made a contrary decision of law applicable to the issue, or (3) the prior decision was clearly

erroneous and would work manifest injustice.” United States v. Aramony, 166 F.3d 655, 661 (4th Cir.

1999) (quoting Sejman v. Warner-Lambert Co., 845 F.2d 66, 69 (4th Cir. 1988)). There has been no

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         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 34 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             31 of Judgment
                                                   32          Page 31 of 32



showing by the Debtors that any of these exceptions to the law of the case doctrine apply in this

proceeding generally or to the June 19, 2020 hearing specifically.

       102.    Even if the law of the case doctrine did not bar the defenses in the Rule 12 Motion,

the court concludes that the Debtors have not met their burden with respect to those defenses and

the defenses would fail on the merits.

                                            CONCLUSION

       For the foregoing reasons, it is hereby ORDERED and ADJUDGED as follows:

   1. Pursuant to Federal Rule of Bankruptcy Procedure 7056 and Federal Rule of Civil Procedure

       56, summary judgment is granted as to the Plaintiff’s first and second claims for relief;

   2. The Trustee’s motions to dismiss are denied;

   3. With respect to the Plaintiff’s third claim for relief, and pursuant to Federal Rule of Bankruptcy

       Procedure 7056 and Federal Rule of Civil Procedure 56, summary judgment is granted in favor

       of the Plaintiff with respect to the defenses of res judicata, collateral estoppel, the Rooker-

       Feldman doctrine, and the Debtors’ affirmative defenses;

   4. With respect to the Plaintiff’s third claim for relief, and pursuant to Federal Rule of Bankruptcy

       Procedure 7056 and Federal Rule of Civil Procedure 56(g), the following material facts are not

       genuinely in dispute and are to be treated as established in this adversary proceeding:

       a. The Construction Agreement is an enforceable agreement under North Carolina law;

       b. The indemnity provision in the Construction Agreement is valid and enforceable as a

           reciprocal attorney’s fees provision pursuant to N.C.G.S. § 6-21.6; and

       c. The Plaintiff’s indemnity claims may be adjudicated in this proceeding;

   5. The Debtors’ Rule 12 Motion is denied;

   6. The court DEFERS ruling on the remaining issues under 11 U.S.C. § 506(b) without prejudice

       to the Plaintiff’s ability to raise those issues in the future; and

                                                    31

         Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 35 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-1
                      62 Filed 12/02/20
                               07/21/21 Entered 12/02/20
                                                   07/21/21 16:56:03
                                                            22:27:43 Desc Main
                                                                            Exhibit
      Memorandum Opinion Grantig
                          Document
                                 PartialPage
                                         Summary
                                             32 of Judgment
                                                   32          Page 32 of 32



   7. The Plaintiff shall file an amended proof of claim in the base case by July 6, 2020. The Trustee

       and the Debtors shall have until July 20, 2020 to file any objections to the Plaintiff’s proof of

       claim. The objecting party will have the burden of noticing the hearing on its objection to all

       interested parties after consulting with the court and the Plaintiff as to the date and time of

       the hearing.

   SO ORDERED.

This Order has been signed                                            United States Bankruptcy Court
electronically. The Judge’s
signature and Court’s seal
appear at the top of the Order.




                                                  32

        Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 36 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43             Desc Main
                                                                                     Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 1 of 9 Page 1 of 9

   FILED & JUDGMENT ENTERED
          Steven T. Salata


            February 18 2021


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                  _____________________________
                                                                            Laura T. Beyer
                                                                    United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

In re:                             )
                                   )
VR KING CONSTRUCTION, LLC          )                      Chapter 7
                                   )                      Case No. 18-31635
                    Debtor.        )
___________________________________)
                                   )
Y2 YOGA COTSWOLD, LLC,             )
                                   )
                    Plaintiff,     )
                                   )                      Adversary Proceeding
v.                                 )                      No. 19-03047
                                   )
V.R. KING CONSTRUCTION, LLC;       )
VINROY REID; AND A. BURTON         )
SHUFORD, AS CHAPTER 7 TRUSTEE      )
FOR V.R. KING CONSTRUCTION, LLC    )
AND VINROY REID,                   )
                                   )
                    Defendants.    )
___________________________________)

   ORDER DENYING DEFENDANT’S MOTION REQUESTING RECONSIDERATION

       THIS MATTER is before the court on V.R. King Construction,

LLC’s      (“V.R.          King’s”)      December   14,   2020    motion       (“Motion”)

requesting          reconsideration         of   this   court’s   December        2,     2020

Memorandum Opinion and Order Granting in Part Plaintiff’s Motion

for Summary Judgment; Denying Defendants’ Motions to Dismiss,



        Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 37 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43    Desc Main
                                                                            Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 2 of 9 Page 2 of 9


Motions for Judgment on the Pleadings and Alternate Motions for

Summary Judgment; Deferring Ruling on Certain Issues Pertaining to

11 U.S.C. 506(b); and Setting Deadlines for Filing of Proofs of

Claim and Any Objections Thereto (“Order”).                 For the reasons

explained below, the court denies the Motion.

      The court has previously explained the facts and procedural

history relevant to this adversary proceeding.                    See Y2 Yoga

Cotswold, LLC v. V.R. King Construction, LLC (In re VR King

Construction, LLC), Ch. 7 Case No. 18-31635, Adv. No. 19-3047,

2020 WL 7063192, at *1-6 (Bankr. W.D.N.C. Dec. 2, 2020).                        On

December 2, 2020, the court entered identical orders in the V.R.

King and Vinroy Reid (“Reid”) adversary proceedings1 that resolved

many of the common issues in those proceedings.             The Order in this

adversary    proceeding    i)   grants    the   Plaintiff    partial      summary

judgment as to its first and second claims for relief (validity,

priority, and non-avoidability of attachment liens); ii) denies

the Trustee’s motions to dismiss; iii) grants the Plaintiff summary

judgment with respect to the defenses of res judicata, collateral

estoppel,    the    Rooker-Feldman       Doctrine,    and   the       affirmative

defenses asserted by V.R. King; iv) found several facts to be

established, including the enforceability of the construction


1
  An adversary proceeding was simultaneously filed in Reid’s Chapter 7
proceeding, case no. 18-31436, and is pending before this court as adversary
proceeding no. 19-3049. The parties, the facts pled, the relief sought in each
complaint, and the defenses thereto in each of the two adversary proceedings
are identical.



                                   2
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 38 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43    Desc Main
                                                                            Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 3 of 9 Page 3 of 9


agreement, the enforceability of the indemnity provision as a

reciprocal attorney’s fee provision, and the court’s ability to

adjudicate    the   Plaintiff’s     indemnity    claims    in    the   adversary

proceeding; and v) denied the Rule 12 motion of V.R. King.                     See

id. at *17.

      In response to the Order, V.R. King filed the Motion seeking

to set aside the Order.          Among V.R. King’s reasons for setting

aside the Order are that the court did not incorporate certain

facts in its finding of facts, that the court erred in most of its

conclusions of law, that the court did not address V.R. King’s

affirmative defenses, and the contentions in the affidavit from

attorney     Christopher    Campbell     attached     to   the    Motion     (the

“Affidavit”).

      The Motion seeks relief pursuant to Rules 592 and 603 of the

Federal Rules of Civil Procedure.            The Motion is unclear as to

which subparts of Rule 59 are relied upon in arguing that the Order

should be set aside.       The Motion makes no mention of Rule 59(e),

which pertains to motions to alter or amend a judgment.                         It

references two other subparts of Rule 59 in paragraph 9 of the

Motion, (a)(1)(B) and (a)(2), but it is unclear whether V.R. King

is relying on them for relief given that those subparts deal with



2
 Federal Rule of Bankruptcy Procedure 9023 makes Federal Rule of Civil Procedure
59 applicable to bankruptcy cases.
3
 Federal Rule of Bankruptcy Procedure 9024 makes Federal Rule of Civil Procedure
60 applicable to Bankruptcy cases.


                                   3
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 39 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43   Desc Main
                                                                           Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 4 of 9 Page 4 of 9


motions for new trials, the court has not held a trial in this

adversary proceeding, and the Debtor does not seek a new trial.

In paragraph 9 of the Motion, the Debtor does clearly reference

Rule 60(b)(6) which states that “the court may relieve a party or

its   legal   representative      from    a   final    judgment,      order,    or

proceeding for . . . any other reason that justifies relief.”                  Rule

60,   however,    pertains   to   final   orders,     and   the   Order   is     an

interlocutory order with outstanding issues still left to be

determined.      As a result, the Motion likely should have been filed

pursuant to Federal Rule of Civil Procedure 54(b).4                    See U.S.

Tobacco Coop. Inc. v. Big S. Wholesale of Virginia, LLC, 899 F.3d

236, 256 (4th Cir. 2018) (citing Carlson v. Boston Sci. Corp., 856

F.3d 320, 325 (4th Cir. 2017)).           Regardless of the federal rule

used to analyze whether to grant the Motion, the result is the

same, and the Motion should be denied.                 Each of the relevant

federal rules are addressed in turn below.

      The first rule to consider in determining whether to grant

the Motion is Federal Rule 59(e).             Rule 59(e) states that “[a]

motion to alter or amend a judgment must be filed no later than 28

days after the entry of the judgment.”                The Fourth Circuit has

recognized three bases for altering or amending a judgment pursuant

to Rule 59(e):       “(1) to accommodate an intervening change in



4
 Federal Rule of Bankruptcy Procedure 7054 makes Federal Rule of Civil Procedure
54(b) applicable to bankruptcy cases.



                                   4
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 40 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43         Desc Main
                                                                                 Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 5 of 9 Page 5 of 9


controlling law; (2) to account for new evidence not available at

trial; or (3) to correct a clear error of law or prevent manifest

injustice.”        Pac. Ins. Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d

396, 403 (4th Cir. 1998) (citing EEOC v. Lockheed Martin Corp.,

Aero & Naval Sys., 116 F.3d 110, 112 (4th Cir. 1997); Hutchinson

v. Staton, 994 F.2d 1076, 1081 (4th Cir. 1993)).                          “Rule 59(e)

motions may not be used, however, to raise arguments which could

have been raised prior to the issuance of the judgment, nor may

they be used to argue a case under a novel legal theory that the

party had the ability to address in the first instance.”                            Id.

(citations omitted).              Rule 59(e) motions are “an extraordinary

remedy which should be used sparingly.”                Id. (quoting WRIGHT      ET AL.,

FEDERAL PRACTICE   AND   PROCEDURE § 2810.1, at 124 (2d ed. 1995)).

      Here,   the        Motion    does     not    identify   any    new    evidence,

intervening        change     in     law,     or    error     of    law    justifying

reconsideration.          The Motion cites several cases that were cited

to and thoroughly briefed in prior pleadings, motions, and briefs

including Ivester v. Miller 398 B.R. 408 (M.D.N.C. 2008), Doub v.

Hartford Fire Ins. Co. (In re Medlin), 229 B.R. 353 (Bankr.

E.D.N.C. 1998), and Edwards v. Edwards, 118 N.C. App 464, 456

S.E.2d 126 (1995).           The Motion also asserts many of the same

arguments already made in prior filings.                 The only “new evidence”

proffered is the Affidavit.                 However, the Affidavit does not

present new evidence, and instead appears to primarily raise legal




                                   5
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 41 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43    Desc Main
                                                                            Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 6 of 9 Page 6 of 9


arguments in support of setting aside the Order.5               Moreover, there

is   no   clear      error   justifying      the    extraordinary     remedy    of

reconsideration.        Therefore, setting aside the Order under Rule

59(e) is inappropriate.

      The next Rule to consider is Rule 60(b).               Rule 60(b) allows

for relief of a party or its legal representative from a final

judgment, order, or proceeding.              Rule 60(b)(6) is a catch-all

provision that allows for relief from a judgment for “any other

reason that justifies relief.” Relief under this rule is available

only in “extraordinary circumstances.”              Aikens v. Ingram, 652 F.3d

496, 500-01 (4th Cir. 2011).           “Rule 60(b) does not authorize a

motion merely for reconsideration of a legal issue” and cannot be

used to simply ask the court to change its mind.                United States v.

Williams, 674 F.2d 310, 312-13 (4th Cir. 1982).

      Here,    the    Motion   does    not     discuss    the    “extraordinary

circumstances”       justifying   setting     aside    the   Order    under    Rule

60(b)(6).     As already stated, the Motion is primarily an attempt

to reargue issues already determined.              There is no new evidence or

new law raised in the Motion, and there are no “extraordinary



5
  Federal Rule of Civil Procedure 56(c)(4) made applicable to adversary
proceedings by Federal Rule of Bankruptcy Procedure 7056 states that an
affidavit should set out factual information and does not refer to legal
argument. The Affidavit cites the Edwards case and argues it is distinguishable
from the facts of this case. Paragraph’s 2-40 of the Affidavit read like a
brief and are applying facts of the case to the law cited. The court also notes
that paragraphs 13-19 of the Motion contain nearly identical language to
paragraphs 29-39 of the Affidavit. Based on these considerations, the court
strikes the Affidavit and will not consider it in determining whether to grant
the Motion.


                                   6
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 42 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43    Desc Main
                                                                            Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 7 of 9 Page 7 of 9


circumstances” mandating relief.          The Motion is simply asking the

court to change its mind.           As a result, the Motion pursuant to

Rule 60(b)(6) should be denied.

      The last rule to consider is Rule 54(b).             Under Rule 54(b),

“a district court retains the power to reconsider and modify its

interlocutory judgments . . . at any time prior to final judgment

when such is warranted.”        Canoe Ass'n v. Murphy Farms, Inc., 326

F.3d 505, 514-15 (4th Cir. 2003) (citations omitted).                 Compared to

motions to reconsider final judgments pursuant to Rule 59(e), “Rule

54(b)’s     approach     involves     broader     flexibility         to   revise

interlocutory     orders   before    final   judgment    as   the     litigation

develops and new facts or arguments come to light.”                   Carlson v.

Boston Sci. Corp., 856 F.3d 320, 325 (4th Cir. 2017) (emphasis

omitted).     “Nevertheless, the discretion afforded by Rule 54(b)

‘is not limitless.’”        U.S. Tobacco, 899 F.3d at 256-57 (quoting

Carlson, 856 F.3d at 325).        While Rule 54(b) can be analogized to

the law of the case doctrine, which “gives a district court

discretion to revisit earlier rulings in the same case,” such

discretion is “subject to the caveat that where ‘litigants have

once battled for the court’s decision, they should neither be

required, nor without good reason permitted, to battle for it

again.’”     Off. Comm. of the Unsecured Creditors of Color Tile,

Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 167 (2d Cir. 2003)

(quoting Zdanok v. Glidden Co., 327 F.2d 944, 953 (2d Cir. 1964)).




                                   7
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 43 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43   Desc Main
                                                                           Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 8 of 9 Page 8 of 9


Thus, a court may revise an interlocutory order under                      three

circumstances:      (1)     where    a   subsequent     trial     results      in

substantially different evidence; (2) there is a change in the

applicable law; or (3) the prior decision was a clear error and

caused manifest injustice.          U.S. Tobacco, 899 F.3d at 257.

      Here, although the court has more discretion to reconsider an

interlocutory order, the Motion still fails to put forth any reason

for the court to do so.        There has been no subsequent proceeding

thus far producing different evidence nor has V.R. King presented

any new evidence with its Motion.            There has been no change in

applicable law, and the Motion merely references case law it

previously cited.         Finally, the Order was not a clear error

resulting in manifest injustice.            The issues in this case were

properly presented to the court, the parties had ample opportunity

to litigate the issues, and the parties did in fact litigate nearly

every legal aspect of those issues.          Moreover, to grant V.R. King

the relief it seeks in this case would lead to an order which is

inconsistent with the identical order entered in the Reid adversary

proceeding for which no reconsideration has been sought.

      In summary, regardless of the Federal Rule used to analyze

whether the relief sought in the Motion should be granted, the

result is the same.       The Motion is largely an attempt to relitigate

issues already briefed and considered by the court and puts forth

no new evidence or case law justifying reconsideration.                        In




                                   8
       Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 44 of 45
Case
 Case19-03047
       19-03047 Doc
                 Doc90-2
                      76 Filed 02/18/21
                               07/21/21 Entered 02/18/21
                                                  07/21/21 12:06:43
                                                           22:27:43   Desc Main
                                                                           Exhibit
                Order Denying
                            Document
                              Motion to Reconsider
                                         Page 9 of 9 Page 9 of 9


addition, there is no clear error causing injustice to V.R. King

as the court properly heard and thoroughly considered all of the

legal    issues   presented.       Revisiting     issues   already     resolved

without good reason is not permitted.               Accordingly, the court

hereby DENIES V.R. KING’S MOTION REQUESTING RECONSIDERATION.

      SO ORDERED.

This Order has been signed                      United States Bankruptcy Court
electronically. The Judge’s
signature and Court’s seal
appear at the top of the Order.




                                    9
        Case 3:21-cv-00364-MOC Document 1 Filed 07/22/21 Page 45 of 45
